        Case 1:21-cv-00922-SCJ Document 14 Filed 04/01/21 Page 1 of 3




                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

TAMARA JEAN FARRELL,                  )
an individual,                        )
                                      )         CASE NO.: 1:21-cv-00922-SCJ
            Plaintiff,                )
vs.                                   )
                                      )
USPG PORTFOLIO FIVE, LLC,             )
a Georgia Limited Liability Company,  )
                                      )
                                      )
WASA PROPERTIES SOUTHLAKE             )
PAVILION LLC,                         )
a Delaware Limited Liability Company, )
                                      )
                                      )
MT. ZION VILLAGE, LLC,                )
a Georgia Limited Liability Company,  )
                                      )
and                                   )
                                      )
SOUTHLAKE EQUITIES, LLC,              )
a Georgia Limited Liability Company   )
                                      )
            Defendants.               )
___________________________________/ )


    NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

      Plaintiff, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, hereby voluntarily dismisses Defendant Wasa Properties Southlake

Pavilion LLC from this action without prejudice. This action remains open as to


                                       1
        Case 1:21-cv-00922-SCJ Document 14 Filed 04/01/21 Page 2 of 3




the other Defendants.

Dated: April 1, 2021
                                Respectfully Submitted,

                                KU & MUSSMAN, P.A.
                                18501 Pines Blvd, Suite 209-A
                                Pembroke Pines, FL 33029
                                Tel: (305) 891-1322
                                Fax: (954) 686-3976


                                By: /s/ John A. Moore         .




                                       John A. Moore, Esq.
                                       Georgia Bar No.: 519792
                                       Of Counsel
                                       The Moore Law Group, LLC
                                       1745 Martin Luther King Jr., Drive
                                       Atlanta, GA 30314
                                       Tel.: (678) 288-5601
                                       Fax: (888) 553-0071
                                       Email: jmoore@moorelawllc.com
                                       Attorney for Plaintiff


                         CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that on this 1st day of April, 2021, I electronically filed

the foregoing with the Clerk of the Court using the ECF system and a true and

correct copy of such filing will be served by U.S. Mail as follows:

WASA PROPERTIES SOUTHLAKE PAVILION LLC
By Serving Registered Agent:
CT Corporation System
289 S. Culver Street
Lawrenceville, Georgia 30046


                                         2
       Case 1:21-cv-00922-SCJ Document 14 Filed 04/01/21 Page 3 of 3




USPG PORTFOLIO FIVE, LLC
By Serving Registered Agent:
Capitol Corporate Services, Inc.
3675 Crestwood Parkway NW, Suite 350
Duluth, Georgia 30096

MT. ZION VILLAGE, LLC
By Serving Registered Agent:
Alice Kim
1649 International Court
Norcross, Georgia 30093

SOUTHLAKE EQUITIES, LLC
By Serving Registered Agent:
Incorporating Services, LTD.
900 Old Roswell Lakes Parkway, Suite 310
Roswell, Georgia 30076




                                     3
